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                                    EXHIBIT 2

                        Blackline of Proposed Interim Order




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

             In re:                                                       Chapter 11

             WINC, INC., et al.,1                                         Case No. 22-11238 (LSS)

                                       Debtors.                           (Jointly Administered)

                                                                          Docket Ref. No. ___14


                      INTERIM ORDER (I) AUTHORIZING DEBTORS TO (A) OBTAIN
                   POSTPETITION FINANCING PURSUANT TO 11 U.S.C. §§ 105, 361, 362,
                 364(c)(1), 364(c)(3), 364(d)(1), AND 364(e) AND (B) USE CASH COLLATERAL
                 PURSUANT TO 11 U.S.C. § 363, (II) GRANTING ADEQUATE PROTECTION
                 PURSUANT TO 11 U.S.C. §§ 361, 362, 363, AND 364, AND (III) SCHEDULING
                  FINAL HEARING PURSUANT TO BANKRUPTCY RULES 4001(b) AND (c)

                   Upon consideration of the motion, dated as of December 2, 2022 (the “Motion”)2 of Winc,

         Inc. (“Winc”) and its affiliated debtors and debtors-in-possession (collectively with Winc, the

         “Debtors”), pursuant to 11 U.S.C. §§ 105, 361, 362, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1),

         and 364(e), Rules 2002, 4001, 6003, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure

         (the “Bankruptcy Rules”), and Rules 2002-1, 4001-2, and 9013-1(m) of the Local Rules of

         Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

         Delaware (the “Bankruptcy Local Rules”), seeking entry of (i) an interim order (this “Interim

         Order”) and (ii) a final order (the “Final Order”); and the Debtors’ having requested on the record

         at the interim hearing on the Motion (the “Interim Hearing”) that the Court enter an Interim Order,

         inter alia,:




         1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Winc, Inc. (8960); BWSC, LLC (0899); and Winc Lost Poet, LLC (N/A). The Debtors’ mailing
             address for purposes of these chapter 11 cases is 1751 Berkeley Street, Studio 3, Santa Monica, CA 90404.
         2   Unless otherwise defined, capitalized terms used herein shall have the meaning ascribed to them in the Term Sheet
             (as defined below).
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                   (a)    authorizing the Debtors to obtain secured postpetition financing on a superpriority

         basisfrom the DIP Lender (the “DIP Facility”) on a pari passu basis with the Prepetition Secured

         Party (as defined below) pursuant to the terms and conditions of that certain Superpriority Secured

         Debtor-in-Possession Credit Facility Term Sheet, dated as of December 25, 2022 (the “Term

         Sheet”), a copy of which is attached hereto as Exhibit B, in the aggregate principal amount of up

         to $5.0 million5,000,000, of which $2,000,000 shall be available pursuant to this Interim Order;3

                   (b)    authorizing the Debtors to execute any other documents, agreements, and

         instruments delivered pursuant thereto or executed or filed in connection therewith, all as may be

         reasonably requested by the DIP Lender (as the same may be amended, restated, supplemented, or

         otherwise modified from time to time, and collectively with the Term Sheet, the “DIP Loan

         Documents”);

                   (c)    granting to the DIP Lender first priority security interests in and liens on all of the

         DIP Collateral (as defined below), pari passu with the Prepetition Secured Party, to secure the DIP

         Facility and all obligations owing and outstanding thereunder and under the DIP Loan Documents,

         as applicable, this Interim Order and the Final Order, as applicable (collectively, and including all

         “Obligations” as described in the Term Sheet, the “DIP Obligations”), subject only to prior

         payment of the Carve Out (as defined below);

                   (d)    granting to the Prepetition Secured Party first priority security interests in and

         adequate protection liens on all of the DIP Collateral (as defined below), pari passu with the DIP

         Lender, to secure the Prepetition Senior Obligations and the Adequate Protection Obligations (each

         as defined below), subject to the Carve Out;




         3   The “DIP Lender” shall mean Project Crush Acquisition Corp LLC.

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                   (e)     (d) granting allowed superpriority administrative expense claims to the DIP Lender

         and the Prepetition Secured Party, which will be pari passu with each other, subject to the Carve

         Out;

                   (f)     (e) authorizing the Debtors to use Cash Collateral (as defined below) with the

         Prepetition Secured Party’s consent subject to the terms of this Interim Order and the Final Order,

         as applicable;

                   (g)     (f) authorizing the Debtors to grant adequate protection to the Prepetition Secured

         Party (as defined below)subject to the terms of this Interim Order and the Final Order, as

         applicable; and

                   (h)     (g) scheduling a hearing (the “Final Hearing”), pursuant to Bankruptcy Rule

         4001(c)(2), to consider entry of the Final Order ((a) through (gh) collectively, the “Requested

         Relief”);

                   and the Interim Hearing having been held on December 56, 2022; and upon all of the

         pleadings filed with the Court and the evidence proffered or adduced at the Interim Hearing; and

         the Court having heard and resolved or overruled any and all objections to the Requested Relief;

         and it appearing that the Requested Relief is in the best interests of the Debtors, their estates, and

         creditors; and upon the record herein; and after due deliberation thereon, and good and sufficient

         cause appearing therefor:

                   IT IS HEREBY FOUND AND DETERMINED THAT:4

                   A.      Petition Date.        On November 30, 2022 (the “Petition Date”), the Debtors

         commenced their chapter 11 cases (these “Chapter 11 Cases”) by filing voluntary petitions for




         4   Findings of fact shall be construed as conclusions of law, and conclusions of law shall be construed as findings of
             fact, as applicable, pursuant to Bankruptcy Rule 7052.

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         relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United

         States Bankruptcy Court for the District of Delaware (the “Court”). The Debtors are operating

         their businesses and managing their affairs as debtors in possession pursuant to sections 1107(a)

         and 1108 of the Bankruptcy Code. As of the date hereof, no trustee, examiner, or official

         committee of creditors holding unsecured claims (a “Creditors’ Committee”) has been appointed

         in any of these Chapter 11 Cases.

                   B.      Jurisdiction; Venue. The Court has jurisdiction over these Chapter 11 Cases, the

         Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334.

         Consideration of the DIP Facility and the use of Cash Collateral constitutes a core proceeding

         pursuant to 28 U.S.C. § 157(b)(2)(D). The Court is a proper venue of these Chapter 11 Cases and

         the Requested Relief under 28 U.S.C. §§ 1408 and 1409. The statutory bases for the relief sought

         herein are sections 105, 361, 362, 363, 364, 503, and 507 of the Bankruptcy Code and Bankruptcy

         Rules 2002, 4001, 6003, 6004, and 9014 and the applicable Bankruptcy Local Rules.

                   C.      Notice. Good and sufficient notice of the Motion under the circumstances has been

         provided in accordance with the Bankruptcy Code, the Bankruptcy Rules, and the Bankruptcy

         Local Rules. The interim relief granted herein is necessary to avoid immediate and irreparable

         harm to the Debtors and their estates pending a Final Hearing.

                   D.      Prepetition Senior Obligations and Senior Liens.

                         (i)      For purposes of this Interim Order, (a) the term “Prepetition Senior

                   Obligations” shall mean all of the Obligations (as such term is defined in the Prepetition

                   Senior Loan Documents (as defined below)), as of the Petition Date, owed to the

                   Prepetition Secured Party, and (b) the term “Prepetition Senior Loan Documents” shall

                   mean that certain Credit Agreement, dated as of December 15, 2020 (as amended, restated,


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                   amended and restated, supplemented or otherwise modified from time to time prior to the

                   date hereof, the “Prepetition First LienSenior Credit Agreement”), by and among Winc,

                   Inc. and BWSC, LLC, as borrowers (the “Borrowers”), and Banc of California, N.A., as

                   successor-by-merger to Pacific Mercantile Bank, as Bank (together with its permitted

                   agents, sub-agents, delegates, attorneys-in-fact, successors and assigns, the “Prepetition

                   Secured Party”) and together with all agreements, documents, notes, mortgages, security

                   agreements, pledges, guarantees, subordination agreements, instruments, amendments, fee

                   letters and any other agreements delivered pursuant thereto or in connection therewith.

                         (ii)     To secure the Prepetition Senior Obligations, the Debtors granted to the

                   Prepetition Secured Party first priority liens upon and senior security interestinterests in

                   (the “Prepetition Senior Liens”) substantially all of the Debtors’ property and assets

                   (collectively, the “Prepetition Senior Collateral”) as more particularly set forth in certain

                   security documents and instruments, including but not limited to the Security Agreement,

                   dated as of December 15, 2020, by Winc, Inc. and BWSC, LLC as grantors, in favor of the

                   Prepetition Secured Party;

                   E.       Debtors’ Acknowledgements and Stipulations.

                    - the The Prepetition Senior Obligations. In exchange for the priming ofgranting of liens

         of equal priority to the Prepetition Secured Party’s liens and claims in connection with the DIP

         Facility, and having obtained the consent of the Prepetition Secured Party, the Debtors

         acknowledge, represent, stipulate, and agree, subject to the terms and provisions of Paragraph 14

         below, that:

                         (i)      as of the Petition Date, (a) the aggregate principal amount of the Prepetition

                   First LienSenior Obligations of not less than approximately $3,400,000, together with


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                   interest (including default interest) thereon, premiums, costs, expenses, letter of credit

                   obligations, fees (including deferred extension fees and attorneys’ fees), indemnities,

                   reimbursement obligations and other charges and Obligations owed by the Debtors are due

                   and payable under the Prepetition First LienSenior Credit Agreement; (b) all of the

                   Prepetition First LienSenior Obligations constitute legal, valid, binding, and non-avoidable

                   obligations of the Debtors and are unconditionally owing by the Debtors to the Prepetition

                   Secured Party, and (c) the Prepetition First LienSenior Obligations are not subject to any

                   avoidance, reductions, set-off, offset, recharacterization, subordination (whether equitable,

                   contractual, or otherwise), counterclaims, cross-claims, defenses or any other challenges

                   under the Bankruptcy Code or any applicable law or regulation by any person or entity,

                   except as set forth in Paragraph 14 below; and

                         (ii)     the Prepetition FirstSenior Liens constitute valid, binding, enforceable, non-

                   avoidable and perfected liens on all or substantially all of the Debtors’ assets with priority

                   over any and all other liens except for the DIP Liens and Adequate Protection Liens (as

                   defined below) (other than Permitted Liens, as defined in the Prepetition First LienSenior

                   Loan Documents) and are not subject to any challenge or defense, including, without

                   limitation, respectively, avoidance, reductions, recharacterization, subordination (whether

                   equitable, contractual or otherwise), claims, counterclaims, cross-claims, offsets, defenses

                   or any other challenges under the Bankruptcy Code or any applicable law or regulation by

                   any person or entity., except as set forth in Paragraph 14 below; and

                         (iii)    The Debtors have requested and the Prepetition Secured Party has agreed

                   that the Prepetition Secured Party consents to, among other things, (a) the Debtors’ use of

                   Cash Collateral (as defined below) and the other Prepetition Collateral, (b) the incurrence


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                   of the DIP Obligations by the Borrower under the DIP Loan Documents, and (c) the

                   Debtors’ granting of the DIP Liens in connection therewith, pari passu to the Prepetition

                   Senior Liens (as defined below) with respect to the DIP Collateral. The Prepetition Secured

                   Party is entitled, pursuant to sections 361, 363(e), and 364(d)(1) of the Bankruptcy Code,

                   to adequate protection of its interests in the Prepetition Collateral, including Cash

                   Collateral (x) in exchange for their consent to allow the Debtors’ use of such Prepetition

                   Collateral, including the Cash Collateral, and (y) for any diminution resulting from the sale,

                   lease, or use by the Debtors (or other decline in value) of Cash Collateral and any other

                   Prepetition Collateral, the granting of liens to the DIP Lender of equal priority to the

                   Prepetition Senior Liens pursuant to this Interim Order, the imposition of the automatic

                   stay pursuant to section 362 of the Bankruptcy Code, or otherwise.

                   F.      Cash Collateral. For purposes of this Interim Order, the term “Cash Collateral”

         shall mean and include all “cash collateral,” as defined in section 363 of the Bankruptcy Code, in

         or on which the DIP Lender or the Prepetition Secured Party have a lien, security interest, or other

         interest (including, without limitation, any adequate protection liens or security interests) whether

         existing on the Petition Date, arising pursuant to this Interim Order, or otherwise and shall include,

         without limitation:

                         (i)      all cash proceeds arising from the collection, sale, lease or other disposition,

         use or conversion of any real or personal property, including insurance policies (including, without

         limitation, policies for the benefit of directors and officers of the Debtors), in or on which the DIP

         Lender or Prepetition Secured Party have a lien or a replacementadequate protection lien, whether

         as part of the DIP Collateral, Prepetition Collateral, or pursuant to an order of the Court or




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         applicable law or otherwise, and whether such property has been converted to cash, existed as of

         the commencement of these Chapter 11 Cases, or arose or was generated thereafter;

                         (ii)       all of the respective deposits, refund claims, and rights in retainers of the

         Debtors on which the DIP Lender or Prepetition Secured Party has a lien or replacementadequate

         protection lien, whether as part of the DIP Collateral, Prepetition Collateral, or pursuant to an order

         of the Court or applicable law or otherwise; and

                         (iii)      the proceeds of any sale of DIP Collateral or Prepetition Collateral in

         connection with any sale consummated prior to entry of the Final Order.

                   G.        Adequate Protection. The Prepetition Secured Party is entitled, pursuant to sections

         361, 363(e), and 364(d)(1) of the Bankruptcy Code, to adequate protection of its respectivesenior

         interests in the Prepetition Collateral, including the Cash Collateral, in exchange for the Debtors’

         use of such Prepetition Collateral, to the extent of the diminution in value, if any, of the Prepetition

         Collateral, including, without limitation, any diminution in value resulting from (i) the sale, lease,

         or use by the Debtors (or other decline in value) of the Cash Collateral and any other Prepetition

         Collateral, (ii) the priming of the Prepetition Senior Liens on and in the Prepetition Collateral by

         the DIP Lender, (iii) the subordination of the Prepetition Senior Obligations to the Carve Out, or

         (iv) the imposition of the automatic stay pursuant to section 362 of the Bankruptcy Code.

                   H.        Purpose and Necessity of Financing. The Debtors require the financing described

         in the Requested Relief to (i) permit the continuation of their businesses and preserve their going

         concern value, (ii) satisfy payroll obligations and other working capital and general corporate

         purposes of the Debtors consistent with the terms set forth in the DIP Loan Documents and the

         Approved Budget (as defined below), (iii) pursue an orderly sale process, and (iv) pay fees and

         expenses related to the DIP Loan Documents, the Adequate Protection Obligations, and the


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         Chapter 11 Cases. If the Debtors do not obtain authorization to borrow under the Term Sheet (and,

         upon entry of a Final Order, the DIP Credit Agreement), they will suffer immediate and irreparable

         harm. The Debtors are unable to obtain adequate unsecured credit allowable as an administrative

         expense under section 503 of the Bankruptcy Code, or other sufficient financing under sections

         364(c) or (d) of the Bankruptcy Code, on more favorable terms than those set forth in the DIP Loan

         Documents, based on the totality of the circumstances. A loan facility in the amount provided by

         the DIP Loan Documents is not available to the Debtors without granting the DIP Lender, for the

         benefit of the DIP Lender, superpriority claims, liens, and security interests, pursuant to section

         364(c)(1), 364(c)(2), 364(c)(3), and 364(d) of the Bankruptcy Code, as provided in this Interim

         Order and the DIP Loan Documents.             After considering all alternatives, the Debtors have

         concluded, in the exercise of their sound business judgment, that the DIP Facility represents the

         best financing available to them at this time.

                   I.     Willingness to Provide Financing. The DIP Lender has indicated a willingness to

         provide financing to the Debtors subject to the entry of this Interim Order, and conditioned upon

         the entry of the Final Order, including findings that such financing is essential to the Debtors’

         estates, the DIP Lender is extending credit to the Debtors as set forth in the DIP Facility in good

         faith, and that the claims, superpriority claims, security interests, liens, rights, and other protections

         granted to the DIP Lender will have the protections provided in section 364(e) of the Bankruptcy

         Code and will not be affected by any subsequent reversal, modification, vacatur, amendment,

         reargument, or reconsideration of this Interim Order, the Final Order, or any other order.

                   J.     Good Cause Shown. Good cause has been shown for entry of this Interim Order.

         The ability of the Debtors to obtain sufficient working capital and liquidity under the DIP Loan

         Documents and access to Cash Collateral is vital to the Debtors’ estates and creditors. The


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         liquidity to be provided under the DIP Loan Documents and access to Cash Collateral will enable

         the Debtors to continue to operate their businesses in the ordinary course, preserve the value of the

         Debtors’ assets and pursue a sale transaction that will maximize the value of their assets for the

         benefit of all stakeholders. Among other things, entry of this Interim Order is necessary to

         maximize the value of the Debtors’ assets and to avoid immediate and irreparable harm to the

         Debtors and their estates, and, accordingly, is in the best interests of, the Debtors, their estates, and

         their creditors.

                   K.       Sections 506(c) and 552(b) Waivers. In light of (i) the DIP Lender’s agreement to

         permit theirthe DIP Liens and DIP Superpriority Claim to be subject to prior payment of the Carve

         Out, and in exchange for and as a material inducement to the DIP Lender to agree to provide the

         DIP Facility and (ii) the agreement of the Prepetition Secured Party to permit theirthe Prepetition

         Senior Liens, Adequate Protection Superpriority Claim, and Adequate Protection Liens to be

         subject to prior payment of the Carve Out, the DIP Liens, and the DIP Superpriority Claim and to

         permit the use of their Cash Collateral for payments made in accordance with the Approved Budget

         and the terms of this Interim Order, the DIP Lender and the Prepetition Secured Party are each

         entitled to (a) subject to entry of the Final Order, a waiver of any “equities of the case” claims

         under section 552(b) of the Bankruptcy Code and (b) subject to entry of the Final Order, a waiver

         of the provisions of section 506(c) of the Bankruptcy Code.

                   L.       Good Faith. The terms of the DIP Facility, including, without limitation, the

         interest rates and fees applicable, and intangible factors relevant thereto, are reasonable under the

         circumstances. Based upon the record before the Court, the DIP Loan Documents have been

         negotiated in good faith and at arm’s-length among the Debtors and, the DIP Lender, and the

         Prepetition Secured Party, under no duress, and without undue influence, in respect of all actions


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         taken by them in connection with or related in any way to negotiating, implementing, documenting,

         or obtaining the requisite approvals of the DIP Facility, and the use of Cash Collateral, including

         in respect of the granting of the DIP Liens, any challenges or objections to the DIP Facility or the

         use of Cash Collateral, and all documents related to any and all transactions contemplated by the

         foregoing. Any DIP Obligations and other financial accommodations made to the Debtors by the

         DIP Lender pursuant to the DIP Loan Documents and this Interim Order shall be deemed to have

         been extended by the DIP Lender in good faith, as that term is used in section 364(e) of the

         Bankruptcy Code, and the DIP Lender shall be entitled to all protections afforded thereby.

                   M.     Fair Consideration and Reasonably Equivalent Value. All of the Debtors have

         received and will receive fair and reasonable consideration in exchange for access to the DIP

         Facility and all other financial accommodations provided under the DIP Loan Documents and this

         Interim Order. The terms of the DIP Loan Documents are fair and reasonable, reflect the Debtors’

         exercise of prudent judgment consistent with their fiduciary duties, and are supported by

         reasonably equivalent value and fair consideration.

                   N.     Immediate Entry of Interim Order. The Debtors have requested immediate entry

         of this Interim Order pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2) and Bankruptcy

         Local Rule 4001-2(b). The permission granted herein to enter into the DIP Loan Documents and

         to obtain funds thereunder is necessary to avoid immediate and irreparable harm to the Debtors.

         This Court concludes that entry of this Interim Order is in the best interests of the Debtors’

         respective estates and creditors as its implementation will, among other things, allow for access to

         the financing necessary for the continued flow of supplies and services to the Debtors necessary

         to sustain the operation of the Debtors’ existing businesses and further enhance the Debtors’

         prospects for a successful reorganization or sale of substantially all of their assets.


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                   Based upon the foregoing findings, acknowledgements, and conclusions, and upon the

         record made before this Court at the Interim Hearing, and good and sufficient cause appearing

         therefor;

         IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

                   1.      Disposition. The relief requested by the Debtors on the record at the Interim

         Hearing is granted on the terms set forth in this Interim Order. Any objection to the interim relief

         sought by the Debtors that has not previously been withdrawn or resolved is hereby overruled on

         its merits. The term of this Interim Order, the DIP Loan Documents, and the use of Cash Collateral

         authorized hereunder shall expire, and the DIP Facility made pursuant to this Interim Order and

         the DIP Loan Documents will mature, and together with all interest thereon and any other

         obligations accruing under the DIP Loan Documents, will become due and payable (unless such

         obligations become due and payable earlier pursuant to the terms of the DIP Loan Documents and

         this Interim Order by way of acceleration or otherwise) on the earlier of (a) twenty-eight (28) days

         after the Petition Date if a Final DIP Order has not been entered prior to such date, or

         (b) termination of the DIP Facility by the DIP Lender, or termination of the Prepetition Secured

         Party’s consent to use Cash Collateral, following the occurrence of an Event of Default in

         accordance with the terms of this Interim Order.

               AUTHORIZATION FOR DIP FINANCING AND USE OF CASH COLLATERAL

                   2.      Authorization for DIP Financing and Use of Cash Collateral.

                         (i)      The Debtors are hereby authorized, on an interim basis, to incur DIP

         Obligations immediately subject to the terms of this Interim Order, the Approved Budget, and the

         DIP Loan Documents, in the aggregate principal amount of up to $2,000,000. Available financing

         under the DIP Loan Documents shall, on an interim basis, be made to fund, strictly in accordance


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         with the Approved Budget, working capital and general corporate requirements of the Debtors,

         bankruptcy-related costs and expenses (including interest, fees, and expenses in accordance with

         this Interim Order or the DIP Loan Documents), and any other amounts required or allowed to be

         paid in accordance with this Interim Order, but only as and to the extent authorized by the

         Approved Budget (and permitted variances as set forth in the DIP Loan Documents) and the DIP

         Loan Documents.

                         (ii)    The Debtors are authorized to use Cash Collateral subject to and in

         accordance with the terms, conditions, and limitations set forth in this Interim Order, the Approved

         Budget (and permitted variances as set forth in the DIP Loan Documents) and the DIP Loan

         Documents, without further approval by the Court.

                         (iii)   The Debtors have delivered to the DIP Lender and the Prepetition Secured

         Party a budget that sets forth projected cash receipts and cash disbursements (by line item) on a

         weekly basis for the time period from and including the Petition Date through January 20, 2023, a

         copy of which is attached hereto as Exhibit A (the “Approved Budget”). The Approved Budget

         shall at all times be in form and substance acceptable to the DIP Lender and the Prepetition Secured

         Party, and approved in writing by the DIP Lender and the Prepetition Secured Lender in their sole

         and absolute discretion. The Debtors shall provide updates to the Approved Budget and financial

         reporting with respect to the Debtors in accordance with the terms of the DIP Loan Documents

         (which updates shall also be provided to the Prepetition Secured Party for its approval concurrently

         with the DIP Lender), and shall provide copies of updates to the Approved Budget to the U.S.

         Trustee and counsel for any Creditors’ Committee.         Funds borrowed under the DIP Loan

         Documents and Cash Collateral used under this Interim Order shall be used by the Debtors in

         accordance with the DIP Loan Documents and this Interim Order. The consent of the DIP Lender


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         or the Prepetition Secured Party to any Approved Budget shall not be construed as a commitment

         by the DIP Lender to provide the DIP Facility or, to the extent permitted by Paragraph 11

         below,agreement of the Prepetition Secured Party to permit the use of Cash Collateral after the

         occurrence of a Termination Event under this Interim Order, regardless of whether the aggregate

         funds shown on the Approved Budget have been expended.

                         (iv)         Any amendments, supplements, or modifications to the Approved Budget

         must be consented to in writing by the DIP Lender and the Prepetition Secured Party in their sole

         discretion prior to the implementation thereof and shall not require further notice, hearing, or court

         order; provided, however that notice of any such amendment, supplement, or modification shall

         be provided to the U.S. Trustee and counsel to the Creditors’ Committee.

                         (v)          The DIP Lender and the Prepetition Secured Party (i) may assume the

         Debtors will comply with the Approved Budget, and (ii) shall have no duty to monitor such

         compliance. All advances and extensions of credit shall be based upon the terms and conditions

         of the DIP Loan Documents, as the same may be adjusted from time to time. Subject to the terms

         and conditions of this Interim Order, the DIP Lender shall have the right but not the obligation to

         extend credit independent of any Approved Budget line item restrictions on loan availability set

         forth in the DIP Loan Documents, and all such DIP Obligations shall be entitled to the benefits

         and protections of this Interim Order.

                               (vi) To the extent any court order is entered directing disgorgement of any payments

         made by the Debtors to the Prepetition Secured Party either prior to or after the Petition Date,

         100% of the proceeds recovered by the Debtors’ estates in connection with such order(s) directing

         disgorgement shall be applied first to repayment of the DIP Obligations, until the DIP Obligations




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         are indefeasibly paid in full in cash, and then to repayment of claims in accordance with the priority

         scheme set forth in the Bankruptcy Code.

                   3. Authority to Execute and Deliver Necessary Documents.

                          (i)    Each of the Debtors is authorized to negotiate, prepare enter into, and

         deliver the DIP Loan Documents, in each case including any amendments thereto and borrow

         money under the DIP Facility, on an interim basis, in accordance with the terms of this Interim

         Order and the DIP Loan Documents. Each of the Debtors is further authorized and directed to

         negotiate, paper, enter into and deliver any UCC financing statements, pledge and security

         agreements, mortgages or deeds of trust, or similar documents or agreements encumbering all of

         the DIP Collateral and securing all of the Debtors’ obligations under the DIP Loan Documents,

         each as may be reasonably requested by the DIP Lender.

                         (ii)    Each of the Debtors is further authorized and directed to negotiate, prepare,

         enter into, and deliver any UCC financing statements, pledge and security agreements, mortgages

         or deeds of trust, or similar documents or agreements encumbering all of the PrepetitionDIP

         Collateral with ReplacementAdequate Protection Liens and securing all of the Debtor’sDebtors’

         obligations under the Prepetition First LienSenior Credit Agreement, subject to the modification

         of such obligations and interests through this Interim Order (provided that, for the avoidance of

         doubt, such ReplacementAdequate Protection Liens and any other security interests held by the

         Prepetition Secured Party shall be primed and henceforth subordinatepari passu in all respects to

         the DIP Liens as set forth through the DIP Credit Documents and authorized through this Interim

         Order).

                         (iii)   Each of the Debtors is further authorized to (i) perform all of its obligations

         under the DIP Loan Documents, and such other agreements as may be required by the DIP Loan


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         Documents to give effect to the terms of the financing provided for therein and in this Interim

         Order, and (ii) perform all acts required under the DIP Loan Documents and this Interim Order.

                   4.     Valid and Binding Obligations. All obligations under the DIP Loan Documents

         shall constitute valid and binding obligations of each of the Debtors, enforceable against each of

         them, each of their estates, and each of their successors and assigns, jointly and severally,

         including, without limitation, any trustee or other estate representative appointed in the Chapter

         11 Cases or any Successor Case (as defined below), in accordance with their terms and the terms

         of this Interim Order, and no obligation, payment, transfer, or grant of a lien or security interest

         under the DIP Loan Documents or this Interim Order shall be restrained, voidable, or recoverable

         under the Bankruptcy Code or under any applicable law (including, without limitation, under

         section 502(d) of the Bankruptcy Code) or subject to any avoidance, reduction, set off, offset,

         recharacterization, subordination (whether equitable, contractual, or otherwise), counterclaims,

         cross-claims, defenses, or any other challenges under the Bankruptcy Code or any applicable law

         or regulation by any person or entity. The DIP Obligations include all loans and any other

         indebtedness or obligations, contingent or absolute, now existing or hereafter arising, which may

         from time to time be or become owing by the Debtors to the DIP Lender under the DIP Loan

         Documents, including without limitation all principal, interest, costs, fees, expenses and other

         amounts owed pursuant to the DIP Loan Documents.

                   5.     Termination of DIP Loan Documents and Cash Collateral Authority.

         Notwithstanding anything in this Interim Order to the contrary, the term of this Interim Order and

         the DIP Loan Documents shall expire, and the DIP Facility made pursuant to this Interim Order

         and the DIP Loan Documents will mature, and together with all interest thereon and any other

         obligations accruing under the DIP Loan Documents, will become due and payable (unless such


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         obligations become due and payable earlier pursuant to the terms of the DIP Loan Documents and

         this Interim Order by way of acceleration or otherwise), and the Debtors’ authority to use Cash

         Collateral shall terminate, on the date that is the earliest of: (a) twenty-eight (28) days after the

         Petition Date if a Final DIP Order has not been entered prior to such date, (b) January 20, 2023,

         (c) the date of consummation of a sale of all or substantially all of the assets of the Debtors pursuant

         to section 363 of the Bankruptcy Code, (c) the occurrence of the effective date of any confirmed

         plan of reorganization in the Chapter 11 Cases, or (d) termination of the DIP Facility by the DIP

         Lender or the Prepetition Secured Party’s consent for the Debtors to the use of Cash Collateral

         following the occurrence of an Event of Default; provided, however, the DIP Facility shall not

         terminate until such time as all accrued fees and expenses due and owed to the DIP Lender and the

         Prepetition Secured Party as set forth in the DIP Loan Documents and Prepetition Senior Loan

         Documents, respectively, have been paid to the DIP Lender and the Prepetition Secured Party as

         applicable.

                   6.     Authorization for Payment of DIP Financingand Prepetition Secured Party Fees and

         Expenses. All fees paid and payable, and all costs and/or expenses reimbursed or reimbursable

         (including, without limitation, all fees, costs, and expenses referred to in the DIP Loan Documents)

         by the Debtors to the DIP Lender and the Prepetition Secured Party are hereby approved. The

         Debtors are hereby authorized and directed to pay all such fees, costs, and expenses in accordance

         with the terms of the DIP Loan Documents, the Prepetition Senior Loan Documents and this

         Interim Order, without any requirement that any party or their counsel file any further application

         or other pleading, notice, or document with the Court for approval or payment of such fees, costs,

         or expenses. Notwithstanding anything to the contrary herein, the fees, costs, and expenses of the

         DIP Lender and the Prepetition Secured Party, whether incurred prior to or after the Petition Date,


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         including, without limitation, all fees referred to in the DIP Loan Documents and all attorneys’

         fees and expenses, shall be deemed fully earned and non-refundable as of the date of this Interim

         Order, except with respect to reimbursement of professional fees and expenses, which shall be

         subject as to postpetition fees only to the fee review procedures set forth below in Paragraph 6(i)

         and (ii) below.

                         (i)    The payment of the fees, expenses and disbursements set forth in this

         paragraph of this Interim Order shall be made within ten (10) days after the receipt by the Debtors,

         the Committee, and the U.S. Trustee (the “Review Period”) of invoices thereof (the “Invoiced

         Fees”) (subject in all respects to applicable privilege or work product doctrines), including a

         summary description of the services provided and the expenses incurred by the applicable

         professional arising before or after the Petition Date, as applicable; provided, however, that any

         such invoice (i) may be redacted to protect privileged, confidential or proprietary information and

         (ii) shall not be required to contain individual time detail.

                         (ii)   The Debtors, the Committee and the U.S. Trustee may preserve their right

         to dispute the reasonableness of any portion of the Invoiced Fees (the “Disputed Invoiced Fees”)

         if, within the Review Period, the Debtors, the Committee or the U.S. Trustee files with the Court

         a motion or other pleading, on at least ten (10) calendar days prior written notice to the DIP Lender

         and the Prepetition Secured Party, as applicable, of any hearing on such motion or other pleading,

         which must contain a specific basis for the objection to the Disputed Invoiced Fees and

         quantification of the disputed amount of the fees and expenses invoiced. The Debtors’ payment of

         the Invoiced Fees (other than any Disputed Invoiced Fees pending resolution of such dispute by

         the parties or disposition by the Court) shall not be delayed based on any objections thereto, and

         the relevant professional shall only be required to disgorge amounts objected to upon being “so


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         ordered” pursuant to a final non-appealable order of this Court. None of the Invoiced Fees shall be

         subject to Court approval or required to be maintained in any specific format, and no recipient of

         any payment on account thereof shall be required to file with respect thereto any interim or final

         fee application with the Court.

                   7.     Amendments, Consents, Waivers, and Modifications. The Debtors may enter into

         any amendments, consents, waivers, or modifications to the DIP Loan Documents in accordance

         with the terms of the DIP Loan Documents, and with consent of the Prepetition Secured Party,

         without need for further notice and hearing or any order of this Court; provided, however, that any

         material amendment, waiver, or modification shall require Court approval.              Copies of all

         amendments, waivers, modifications, whether or not material, shall be filed with the Court and

         provided by the Debtors to counsel to the Creditors’ Committee and the U.S. Trustee.

                                DIP LIENS AND DIP SUPERPRIORITY CLAIMS

                   8. DIP Liens & Priority.

                          (a)    To secure the DIP Obligations and other obligations of the Debtors under

         the DIP Facility and DIP Loan Documents, the DIP Lender is hereby granted for the benefit of

         itself, pursuant to and in accordance with sections 361, 362, 364(c)(2), 364(c)(3), and 364(d) of

         the Bankruptcy Code, subject to the Carve Out at all times, valid, enforceable, and fully perfected:

         (i) first priority liens, pari passu in all respects with any valid, perfected and unavoidable liens of

         the Prepetition Secured Party (including the Adequate Protection Liens), on all property of the

         Debtors’ estates in these Chapter 11 Cases that is not subject to valid, perfect, and non-avoidable

         liens as of the Petition Date, excluding claims and causes of action under sections 502(d), 544,

         545, 547, 548, 549, and 550 of the Bankruptcy Code (collectively, “Avoidance Actions”);

         provided, however, upon entry of the Final Order, liens in favor of the DIP Agent and DIP Lender


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         shall attach to and be perfected in any proceeds of Avoidance Actions; (ii) junior liens, pari passu

         in all respects with any valid, perfected and unavoidable liens of the Prepetition Secured Party

         (including the Adequate Protection Liens), on all property of the Debtors’ estates in these Chapter

         11 Cases, that is subject to valid, perfected, and non-avoidable liens in existence as of the Petition

         Date (other than the Prepetition Senior Liens) or to valid liens in existence at the time of the

         Petition Date that are perfected subsequent to the Petition Date as permitted by section 546(b) of

         the Bankruptcy Code, other than property that is subject to the existing liens that secure obligations

         under the agreements referred to in subsection (iii) below, which liens shall be primed by the liens

         to be granted to the DIP Lender as described therein;; and (iii) first priority, senior priming liens,

         pari passu in all respects with any valid, perfected and unavoidable liens of the Prepetition Secured

         Party (including the Adequate Protection Liens), on all of the property (such property, together

         with the property described in subsections (i) and (ii) above, the “DIP Collateral”) of the Debtors’

         estates in these Chapter 11 Cases (including, without limitation, inventory, accounts receivable,

         general intangibles, chattel paper, owned real estate, real property leaseholds, fixtures and

         machinery and equipment fixtures and machinery and equipment, deposit accounts, patents,

         copyrights, trademarks, tradenames, rights under license agreements, and other intellectual

         property and capital stock of subsidiaries, and all proceeds thereof) that is subject to the existing

         liens that secure the obligations of any other lenders under or in connection with any existing credit

         agreement and related documents and agreements and all of which existing liens (the “Primed

         Liens”) shall be primed by and made subject and subordinate to the perfected first priority senior

         liens to be granted to the DIP Lender, for the benefit of itself, which senior priming liens in favor

         of the DIP Lender shall also prime any liens granted aftervalid, perfect, and non-avoidable liens

         of the Prepetition Secured Party as of the Petition Date to provide adequate protection in respect


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         of any of the Primed Liens, subject, in each case, only to the Carve Out and, solely with respect to

         the collateral subject thereto (subsections (i), (ii), and (iii) collectively, the “DIP Liens”).; provided

         that the DIP Liens do not prime any valid, perfected and enforceable statutory claims or related

         claims under the Perishable Agricultural Commodities Act (PACA) or applicable state law, to the

         extent such claims or liens are senior to the Prepetition Senior Liens as of the Petition Date.

                          (b)    The DIP Liens shall be effective immediately upon the entry of this Interim

         Order and shall not at any time be made subject or subordinated to, or made pari passu with (except

         with respect to any valid, perfected and enforceable liens of the Prepetition Secured Party

         (including the Adequate Protection Liens) as set forth herein, which shall be pari passu to the DIP

         Liens), any other lien, security interest or claim existing as of the Petition Date, or created under

         sections 363 or 364(d) of the Bankruptcy Code or otherwise, other than prior payment of the Carve

         Out.

                          (c)    The DIP Liens shall be and hereby are deemed fully perfected liens and

         security interestinterests, effective and perfected upon the date of this Interim Order, without the

         necessity of execution by the Debtors of mortgages, security agreements, pledge agreements,

         financing agreements, financing statements, account control agreements, or any other agreements

         or instruments, such that no additional actions need by taken by the DIP Lender to perfect such

         interests. Any provision of any lease, loan document, easement, use agreement, proofer, covenant,

         license, contract, organizational document, or other instrument or agreement that requires the

         consent or approval of one or more landlords, licensors or other parties, or requires the payment

         of any fees or obligations to any governmental entity, non-governmental entity or any other person,

         in order for any of the Debtors to pledge, grant, mortgage, sell, assign, or otherwise transfer any

         fee or leasehold interest or the proceeds thereof or other collateral, is and shall be deemed to be


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         inconsistent with the provisions of the Bankruptcy Code, and shall have no force or effect with

         respect to the transactions granting the DIP Lender for the benefit of itself, a security interest in

         such fee, leasehold, or other interest or other collateral or the proceeds of any assignment, sale, or

         other transfer thereof, by any of the Debtors in favor of the DIP Lender, for the benefit of itself, in

         accordance with the terms of the DIP Credit Agreement and the other DIP Loan Documents.

                   9.     DIP Lender’s Superpriority Claim. The DIP Lender is hereby granted an allowed

         superpriority administrative expense claim (the “DIP Superpriority Claim”), which claim shall be

         pari passu with the Adequate Protection Superpriority Claim and the Prepetition Senior

         Obligations, pursuant to section 364(c)(1) of the Bankruptcy Code in each of the Chapter 11 Cases

         and in any successor case(s) under the Bankruptcy Code (including any case or cases under chapter

         7 of the Bankruptcy Code, the “Successor Case(s)”) for all DIP Obligations, having priority over

         any and all other claims against the Debtors, now existing or hereafter arising, of any kind

         whatsoever, including, without limitation, all administrative expenses of the kinds specified in or

         arising or ordered under sections 105(a), 326, 328, 330, 331, 503(a), 503(b), 506(c) (subject to

         entry of a Final Order), 507(a), 507(b), 546(c), 546(d), 726, 1113, and 1114 and any other

         provision of the Bankruptcy Code or otherwise, whether or not such expenses or claims may

         become secured by a judgment lien or other non-consensual lien, levy or attachment, which

         allowed DIP Superpriority Claim shall be payable from and have recourse to all prepetition and

         postpetition property of the Debtors and all proceeds thereof including, without limitation, upon

         entry of the Final Order, any proceeds or property recovered in connection with the pursuit of

         Avoidance Actions. The DIP Superpriority Claim granted in this paragraph shall be subject and

         subordinate in priority of payment only to prior payment of the Carve Out; provided that such DIP

         Superpriority Claim shall have equal priority to the Adequate Protection Superpriority Claim.


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         Except as set forth in this Interim Order, without the written consent of the DIP Lender and the

         Prepetition Secured Party, no other superpriority claims shall be granted or allowed in these

         Chapter 11 Cases or in any Successor Case and the DIP Superpriority Claim shall be senior in all

         respects to any superpriority claims granted in these Chapter 11 Cases (except the Adequate

         Protection Superpriority Claim), including, without limitation, on account of any break-up fee or

         expense reimbursement that may be granted by the Court in connection with the sale of the

         Debtors’ assets.

                   10.    Survival of DIP Liens and DIP Superpriority Claim.            The DIP Liens, DIP

         Superpriority Claim, and other rights and remedies granted under this Interim Order to the DIP

         Lender shall continue in this and any Successor Case(s) and shall be valid and enforceable against

         any trustee appointed in any or all of the Debtors’ Chapter 11 Cases and/or upon the dismissal or

         conversion of any or all of the Debtors’ Chapter 11 Cases or any Successor Case(s) and such liens

         and security interests shall maintain their priority as provided in this Interim Order until all of the

         DIP Obligations have been indefeasibly paid in full in cash and the DIP Lender’s commitments

         have been terminated in accordance with the DIP Loan Documents.

                   11.    Carve Out. As used in this Interim Order, the “Carve Out” means the sum of: (i) all

         fees required to be paid to the Clerk of the Court and to the Office of the United States Trustee

         under section 1930(a) of title 28 of the United States Code and section 3717 of title 31 of the

         United States Code, (ii) all unpaid professional fees and disbursements incurred by the Debtors

         and any statutory committees appointed in these Chapter 11 Cases prior to the occurrence of an

         Event of Default and notice thereof delivered to the Debtors, but only to the extent allowed by the

         Court at any time and only to the extent of amounts included in the Approved Budget, and (iii) at

         any time after the occurrence of an Event of Default and notice thereof delivered to the Borrower,


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         to the extent allowed at any time, whether before or after delivery of such notice, whether by

         interim order, procedural order or otherwise, the payment of accrued and unpaid professional fees,

         costs and expenses (collectively, the “Professional Fees”) incurred by persons or firms retained by

         the Debtors and the committee and allowed by the Court, not in excess of $100,000 for the Debtors’

         professionals and the Creditors’ Committee professionals (the “Carve Out Cap”). On a weekly

         basis, the fees and expenses of the Debtors’ and Creditors’ Committee’s professionals provided in

         the Budget shall be funded into an escrow account with Young Conaway Stargatt & Taylor, LLP

         to satisfy the professional fees included within the Carve Out (the “Professional Fee Reserve”).

         The funds on deposit in the Professional Fee Reserve shall be available to satisfy the obligations

         owed to the Debtors’ and committee’s professionals benefiting from the Carve Out, and the DIP

         Lender and the Prepetition Secured Party, on a pari passu basis, shall have a security interest upon

         any residual interest in the Professional Fee Reserve available following satisfaction in cash in full

         of all obligations benefiting from the Carve Out; provided, further, that the Carve Out shall not be

         available to pay any such Professional Fees incurred in connection with the initiation or

         prosecution of any claims, causes of action, adversary proceedings or other litigation against the

         DIP Lender or, the Prepetition Secured Party, the DIP Lender’s representatives or professionals or

         the Prepetition Secured Party’s representatives or professionals, and nothing herein shall impair

         the right of any party to object to the reasonableness of any such fees or expenses to be paid by the

         Debtors’ estates.

                                           ADEQUATE PROTECTION

                   12.    Adequate Protection for Prepetition Secured Party. Pursuant to sections 361,

         363(e), and 364(d) of the Bankruptcy Code, as adequate protection for any diminution in the value

         of the Prepetition Collateral resulting from, among other things: (i) the incurrence of the DIP


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         Obligations secured by a primingthe DIP LienLiens, (ii) the use of Cash Collateral, (iii) the

         imposition of the automatic stay, (iv) the subordination of their right to receive payment from the

         proceeds of the Prepetition Collateral to the prior payment of the Carve Out, or (v) otherwise

         (collectively, the “Prepetition Senior Lender Diminution Claim”), the Prepetition Secured Party is

         hereby granted (in each case subjectequal in priority to the DIP Liens, and the DIP Superpriority

         Claim, and subject to prior payment of the Carve Out) the following (collectively, the “Prepetition

         Senior Lender Adequate Protection Obligations”):

                          (a)   Adequate Protection Superpriority Claim. To the extent of any Diminution

         Claim, the Prepetition Secured Party is hereby granted an allowed superpriority administrative

         expense claim (the “Adequate Protection Superpriority Claim”), which claim shall be pari passu

         with the DIP Superpriority Claim, pursuant to section 507(b) of the Bankruptcy Code in each of

         the Chapter 11 Cases and in any Successor Case(s), having priority over any and all other claims

         against the Debtors, now existing or hereafter arising, of any kind whatsoever, including, without

         limitation, all administrative expenses of the kinds specified in or arising or ordered under sections

         105(a), 326, 328, 330, 331, 503(a), 503(b), 506(c) (subject to entry of a Final Order), 507(a),

         507(b), 546(c), 546(d), 726, 1113, and 1114 and any other provision of the Bankruptcy Code or

         otherwise, whether or not such expenses or claims may become secured by a judgment lien or

         other non-consensual lien, levy or attachment, which Adequate Protection Superpriority Claim

         shall be payable from and have recourse to all prepetition and postpetition property of the Debtors

         and all proceeds thereof including, without limitation, upon entry of the Final Order, any proceeds

         or property recovered in connection with the pursuit of Avoidance Actions. The Adequate

         Protection Superpriority Claim granted in this paragraph shall be subject and subordinate in

         priority of payment only to prior payment of the Carve Out; provided, however, for the avoidance


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         of doubt, the Adequate Protection Superpriority Claim shall have equal priority to the DIP

         Superpriority Claim.

                          (b)   (a) Adequate Protection Liens. Subject to paragraph 1514 of this Interim

         Order, to secure the Prepetition Senior Lender Diminution ClaimObligations, the Prepetition

         Secured Party is hereby granted (effective and perfected upon the date of this Interim Order and

         without the necessity of execution by the Debtors of mortgages, security agreements, pledge

         agreements, financing statements, and other agreements or instruments) valid, perfected,

         postpetition first priority security interests and liens (the “ReplacementAdequate Protection

         Liens”) in and on all of the DIP Collateral and, upon entry of a Final DIP Order, proceeds of

         Avoidance Actions; provided, however, that the ReplacementAdequate Protection Liens shall only

         be and remain subject and subordinate to (i)be (i) pari passu with the DIP Liens and/or payment

         of any DIP Obligations on account thereof, and subordinate to (ii) prior payment of the Carve Out.

         The ReplacementAdequate Protection Liens shall be valid and enforceable against any trustee or

         other estate representative appointed in the Chapter 11 Cases or any Successor Case, upon the

         conversion of any of the Chapter 11 Cases to a case under chapter 7 of the Bankruptcy Code (or

         in any other Successor Case), and/or upon the dismissal of any of the Chapter 11 Cases or any

         Successor Case.

                          (c)   Fees and Expenses. Pursuant to paragraph 6 of this Order, as further

         adequate protection for the Diminution Claim, the Prepetition Secured Party shall receive monthly

         payment from the Debtors to reimburse the reasonable professional fees and expenses, including

         fees and expenses of counsel, incurred by the Prepetition Secured Party both before and after the

         Petition Date, subject to the fee and expense procedures set forth in Paragraph 6 of this Order.




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                          (d)    Accrual of Prepetition Fees and Interest. As further adequate protection for

         the Diminution Claim, any fees and interest, including default rate interest, due under the

         Prepetition Senior Loan Documents to the Prepetition Secured Party shall accrue as set forth

         therein and pursuant to the DIP Documents and shall be due and payable to the Prepetition Secured

         Party as a condition precedent to the termination of the DIP Loan Documents.

                                       RESTRICTION ON USE OF FUNDS

                   13.    Notwithstanding anything in this Interim Order or the DIP Loan Documents to the

         contrary, no proceeds of the DIP Facility, any DIP Collateral or Prepetition Collateral (including,

         without limitation, Cash Collateral) or any portion of the Carve Out may be used to pay any claims

         for services rendered by any professionals retained by the Debtors, any creditor or party in interest,

         a Creditors’ Committee, any trustee appointed under these Chapter 11 Cases or any Successor

         Cases, or any other party to (a) request authorization to obtain postpetition loans or other financial

         accommodations pursuant to section 364(c) or (d) of the Bankruptcy Code or otherwise, other than

         from the DIP Lender under the DIP Loan Documents, unless the proceeds of such loans or

         accommodations are or will be sufficient, and will be used, to indefeasibly pay in full in cash all

         DIP Obligations, the Prepetition Senior Obligations, and Prepetition Senior Lender Adequate

         Protection Obligations, or (b) investigate (except as set forth in Paragraph 14 below), assert, join,

         commence, support or prosecute any action or claim, counter-claim, action, proceeding,

         application, motion, objection, defense, or other contested matter seeking any order, judgment,

         determination or similar relief against, or adverse to the interests of, in any capacity, the DIP

         Lender, the Prepetition Secured Party or any of their respective officers, directors, employees,

         agents, attorneys, affiliates, assigns, or successors, with respect to any transaction, occurrence,

         omission, or action, including, without limitation, (i) any Avoidance Actions or other actions


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         arising under chapter 5 of the Bankruptcy Code; (ii) any action relating to any act, omission or

         aspect of the relationship between or among any of the DIP Lender or the Prepetition Secured

         Party, on the one hand, and the Debtors or any of their affiliates, on the other; (iii) any action with

         respect to the validity and extent of the DIP Obligations or the Prepetition Senior Obligations or

         the validity, extent, and priority of the DIP Liens or Prepetition Senior Liens; (iv) any action

         seeking to invalidate, set aside, avoid or subordinate, in whole or in part the DIP Liens or the

         Prepetition Senior Liens; (v) any action that has the effect of preventing, hindering or delaying

         (whether directly or indirectly) the DIP Lender or the Prepetition Secured Party in respect of the

         enforcement of itstheir respective liens and security interests in the DIP Collateral, or Cash

         Collateral; (vi) pay any Claim of a Creditor (as such terms are defined in the Bankruptcy Code)

         inconsistent with the Budget without the prior written consent of the DIP Lender (vii) use or seek

         to use Cash Collateral or sell or otherwise dispose of DIP Collateral, unless otherwise permitted

         hereby or by the DIP Loan Documents. Notwithstanding the foregoing, up to $10,000 in the

         aggregate of the DIP Facility, DIP Collateral, Cash Collateral, Prepetition Collateral and Carve

         Out may be used by a Creditors’ Committee to investigate the Prepetition Senior Obligations, or

         the Prepetition Senior Liens, and/or claims against the Releasees prior to the expiration of the

         Challenge Period (as each is defined below).

                   14.    Reservation of Certain Third Party Rights and Bar of Challenges and Claims.

                          (a)    The   Debtors’    acknowledgements       and    stipulations   set   forth   in

         ParagraphParagraphs D and E above (the “Debtors’ Stipulations”) shall be binding upon the

         Debtors in all circumstances upon entry of this Interim Order.

                          (b)    The Debtors’ Stipulations shall also be binding upon each other party in

         interest, including any Creditors’ Committee unless such Creditors’ Committee or any other party


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         in interest having standing, including any Chapter 11 trustee (or if the Chapter 11 Cases are

         converted to cases under chapter 7 prior to the expiration of the Challenge Period (as defined

         below), the chapter 7 trustee in such Successor Case(s)): (a) commences a Challenge (as defined

         below) within seventy-fiveforty (7540) calendar days following the date of entry of thethis Interim

         Order, or as otherwise expressly agreed in writing by the Prepetition Senior Lender in its sole

         discretion (such time period shall be referred to as the “Challenge Period”) and (b) obtains a final,

         non-appealable order in favor of such party in interest sustaining any such Challenge in any such

         timely-filed contested matter, adversary proceeding, or other action. For the avoidance of doubt,

         any trustee appointed or elected in these Chapter 11 Cases shall, until the expiration of the period

         provided herein for asserting Challenges, and thereafter for the duration of any adversary

         proceeding or contested matter commenced pursuant to this paragraph (whether commenced by

         such trustee or commenced by any other party in interest on behalf of the Debtors’ estates), be

         deemed to be a party other than the Debtors and shall not, for purposes of such adversary

         proceeding or contested matter, be bound by the acknowledgments, admissions, confirmations and

         stipulations of the Debtors in this Interim Order.

                          (c)   A “Challenge” means with respect to any party that has filed a notice

         seekingobtained standing to commence and has filed (A) an adversary proceeding challenging or

         otherwise objecting to the admissions, stipulations, findings, or releases included in the Debtors’

         Stipulations, or (B) an adversary proceeding against any or all of the Prepetition Secured Party in

         connection with or related to the Prepetition Senior Obligations or the Prepetition Senior Liens, or

         the actions or inactions of any of the Prepetition Secured Party arising out of or related to the

         Prepetition Senior Obligations, the Prepetition Senior Liens, or otherwise, including, without

         limitation, any claim against Prepetition Secured Party in the nature of a “lender liability” cause


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         of action, setoff, counterclaim, or defense to the Prepetition Senior Obligations or the Prepetition

         Senior Liens (including, but not limited to, those under sections 506, 544, 547, 548, 549, 550,

         and/or 552 of the Bankruptcy Code ((A) and (B) collectively, the “Challenges” and, each

         individually, a “Challenge”). Nothing in this Order shall be deemed to provide automatic standing

         to any party in interest.

                          (d)    With respect to any party interest that (i) fails to raise a proper Challenge

         within the Challenge Period or (ii) raises a proper Challenge within the Challenge Period which is

         fully and finally adjudicated in favor of the Prepetition Secured Party, then for all purposes in these

         Chapter 11 Cases and any Successor Case(s), (i) all payments made to or for the benefit of the

         Prepetition Secured Party, pursuant to, or otherwise authorized by, this Interim Order or otherwise

         (whether made prior to, on, or after the Petition Date) shall be indefeasible and not be subject to

         counterclaim, set-off, subordination, recharacterization, defense, or avoidance, (ii) any and all such

         Challenges by any party in interest (including, without limitation, a Creditors’ Committee, any

         chapter 11 trustee, and/or any examiner or other estate representative appointed in the Chapter 11

         Cases, and any chapter 7 trustee and/or examiner or other estate representative appointed in any

         Successor Case) shall be deemed to be forever released, waived, and barred, (iii) the Prepetition

         Senior Obligations shall be deemed to be a fully allowed and fully secured claim within the

         meaning of section 506 of the Bankruptcy Code, not subject to counterclaim, setoff, subordination,

         recharacterization, reduction, defense or avoidance, (iv) any and all pre-petitionprepetition claims

         or causes of action against the Prepetition Secured Party, as applicable, relating in any way to the

         Debtors shall be forever waived and released by the Debtors, the Debtors’ estates, and all creditors,

         interest holders, a Creditors’ Committee and other parties in interest in the Chapter 11 Cases and

         any Successor Case and (v) all matters not subject to the Challenge, including, without limitation,


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         all findings, the Debtors’ Stipulations in ParagraphParagraphs D and E, all waivers, releases set

         forth herein, affirmations and other stipulations as to the priority, extent and validity as to the

         claims, liens and interests of the Prepetition Secured Party shall be of full force and effect upon

         the Debtors, the Debtors’ estates, and all creditors, equity interest holders, a Creditors’ Committee,

         and other parties in interest in the Chapter 11 Cases and any Successor Case.

                   15.    Prohibition on Granting of Additional Liens and Interests. It shall constitute an

         event of default, the DIP Lender shall have no further obligation to provide financing under the

         DIP Loan Documents, and the DIP Lender and the Prepetition Secured Party shall be entitled to

         enforce itstheir respective rights and remedies under the DIP Loan Documents and this Interim

         Order if the Debtors seek, or this Court grants, any liens, claims, interests or priority status, other

         than the Carve Out, having a lien or administrative priority superior to or pari passu with that of

         the DIP Liens, the DIP Superpriority Claim, or the Replacementthe Prepetition Senior Liens, the

         Adequate Protection Superpriority Claim, or the Adequate Protection Liens granted by this Interim

         Order, while any portion of the DIP Obligations or Prepetition Senior Obligations remain

         outstanding, or any commitment under the DIP Loan Documents or Prepetition First LienSenior

         Loan Documents remains in effect, without the prior written consent of the DIP Lender and the

         Prepetition Secured Party, respectively.

                   16.    Release. Subject to entry of the Final Order, the release, discharge, waivers,

         settlements, compromises, and agreements set forth in this Paragraph 16 shall be deemed effective

         upon entry of the Interim Order, and subject only to the rights set forth in Paragraph 14 above.

         The Debtors, on behalf of themselves and their estates (including any successor trustee or other

         estate representative in these Chapter 11 Cases or any Successor Case) forever and irrevocably (a)

         release, discharge, and acquit the DIP Lender, the Prepetition Secured Party, and itstheir former,


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         current or future officers, employees, directors, agents, representatives, owners, members,

         partners, financial advisors, legal advisors, shareholders, managers, consultants, accountants,

         attorneys, affiliates, and predecessors in interest (collectively, the “Releasees”) of and from any

         and all claims, demands, liabilities, responsibilities, disputes, remedies, causes of action,

         indebtedness, and obligations, of every type, including, without limitation, any claims arising from

         any actions relating to any aspect of the relationship between the DIP Lender or the Prepetition

         Secured Party, on the one hand, and the Debtors and their affiliates, on the other hand, including

         any equitable subordination claims or defenses, with respect to or relating to the DIP Facility, the

         DIP Liens, the Adequate Protection Liens, the DIP Loan Documents, the Prepetition Senior Loan

         Documents, the Prepetition Senior Loan Obligations, the Prepetition Senior Liens, any and all

         claims and causes of action arising under the Bankruptcy Code; and (b) waive any and all defenses

         (including, without limitation, offsets and counterclaims of any nature or kind) as to the validity,

         perfection, priority, enforceability and non-avoidability of the Prepetition Senior Obligations and

         the Prepetition Senior Liens.

                            REMEDIES; MODIFICATION OF AUTOMATIC STAY

                   17.    Remedies and Stay Modification.

                          (a)   The automatic stay provisions of section 362 of the Bankruptcy Code are,

         to the extent applicable, modified without further application or motion to, or order from, the

         Court, to the extent necessary so as to permit the following:

                                         i.    Whether or not a Default or an Event of Default under the

         DIP Loan Documents or a default by any of the Debtors of any of their obligations under this

         Interim Order has occurred (A) the right to file or record any financing statements, mortgages or

         other instruments or other documents to evidence the security interests in and liens upon the DIP


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         Collateral, (B) the right to charge and collect any interest, fees, costs and other expenses accruing

         at any time under the DIP Loan Documents as provided therein, and (C) the right to give the

         Debtors any notice provided for in any of the DIP Loan Documents or this Interim Order;

                                      ii.       Subject to Paragraph 17(a)(iv) below, the automatic stay

         provisions of section 362 of the Bankruptcy Code are modified without the need for further Court

         order to permit the DIP Lender and the Prepetition Secured Party, each in its sole discretion but

         with notice to the other, upon the occurrence and during the continuance of an Event of Default,

         and without any interference from the Debtors or any other party interest, to (I)(A) in the case of

         the DIP Lender, cease providing the DIP Facility and/or suspend or terminate the commitments

         under the DIP Loan Documents, and (B) in the case of the DIP Lender, declare all DIP Obligations

         immediately due and payable, (C) in the case of the Prepetition Secured Party, withdraw its consent

         to the Debtors’ continuing use of Cash Collateral and (II) subject to five (5) calendar days'’ prior

         written notice (which may be delivered by electronic mail) (the “Remedies Notice Period”) to the

         Debtors, their counsel, the Prepetition Secured Party or the DIP Lender (as applicable), counsel to

         any Creditors'’ Committee and the U.S. Trustee, to exercise all other rights and remedies provided

         for in the DIP Loan Documents, this Interim Order or under other applicable bankruptcy and non-

         bankruptcy law including, without limitation, the right to (A) in the case of the DIP Lender and

         the Prepetition Secured Party, take any actions reasonably calculated to preserve or safeguard the

         DIP Collateral or to prepare the DIP Collateral for sale; (B) in the case of the DIP Lender, foreclose

         or otherwise enforce the DIP Liens on any or all of the DIP Collateral; (C) (subject to the rights of

         the Prepetition Secured Party therein); (C) in the case of the Prepetition Secured Party, set off any

         amounts held as Cash Collateral (including, without limitation, in any Cash Collateral account held

         for the benefitmaintained with the Prepetition Secured Party) (subject to the rights of the DIP


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         Lender, and such rights held by the DIP Lender shall be pari passu with all such rights granted to

         the Prepetition Secured Party herein); and/or (D) exercise any other default-related rights and

         remedies under the under the DIP Loan Documents or this Interim Order. The Remedies Notice

         Period shall run concurrently with any notice period provided for under the DIP Loan Documents;

                                     iii.      Immediately upon the occurrence of an Event of Default

         under the DIP Loan Documents or any of their obligations under this Interim Order, the DIP

         Lender may charge interest at the default rate set forth in the DIP Loan Documents without being

         subject to the Remedies Notice Period;

                                     iv.       The automatic stay of section 362(a) of the Bankruptcy

         Code, to the extent applicable, shall be deemed terminated without the necessity of any further

         action by the Court in the event that the Debtors, the Creditors'’ Committee, if any, and/or the U.S.

         Trustee or any party in interest with requisite standing have not obtained an order from this Court

         to the contrary prior to the expiration of the Remedies Notice Period. During the Remedies Notice

         Period, the Debtors shall not be permitted to use any Cash Collateral or any DIP Facility proceeds

         except to pay expenses reasonably necessary to preserve the Debtors' going concern value, which

         amount shall not exceed $670,000. The Debtors, a Creditors’ Committee, if any, the U.S. Trustee,

         and any other party with requisite standing, shall have the burden of proof at any hearing on any

         request by them to reimpose or continue the automatic stay of Section 362(a) of the Bankruptcy

         Code or to obtain any other injunctive relief;

                                      v.       If the DIP Lender or the Prepetition Secured Party is entitled,

         and has elected in accordance with the provisions hereof, to enforce its respective liens or security

         interests or exercise any other default-related remedies following expiration of the Remedies

         Notice Period, the Debtors shall cooperate with the DIP Lender and the Prepetition Secured Party


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         in connection with such enforcement by, among other things, (A) providing at all reasonable times

         access to the Debtors'’ premises to representatives or agents of the DIP Lender and the Prepetition

         Secured Party (including any collateral liquidator or consultant), (B) providing the DIP Lender,

         the Prepetition Secured Party, and their representatives or agents, at all reasonable times access to

         the Debtors'’ books and records and any information or documents requested by the DIP Lender

         or its, the Prepetition Secured Party, or their respective representatives, (C) performing all other

         obligations set forth in the DIP Loan Documents or hereunder, and (D) taking reasonable steps to

         safeguard and protect the DIP Collateral, and the Debtors shall not otherwise interfere with or

         actively encourage others to interfere with the DIP Lender’s and the Prepetition Secured Party’s

         enforcement of rights;

                                     vi.       Upon the occurrence and during the continuance of an Event

         of Default under the DIP Loan Documents or a violation of the terms of this Interim Order, subject

         to payment of the Carve Out and payment of the expenses provided in subsection (iv) of this

         Paragraph, the DIP Lender shall have no further obligation to provide financing under the DIP

         Loan Documents and the DIP Lender and the Prepetition Secured Party shall have no further

         obligation to permit the continued use of Cash Collateral;

                                    vii.       Upon the occurrence and during the continuance of an Event

         of Default under the DIP Loan Documents or a violation of the terms of this Interim Order, subject

         to the Remedies Notice Period, the DIP Lender and the Prepetition Secured Party may at all times

         continue to collect and sweep cash as provided herein or as provided in the DIP Loan Documents;

         and

                                   viii.       This Court shall retain exclusive jurisdiction to hear and

         resolve any disputes and enter any orders required by the provisions of this Interim Order and


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         relating to the application, re-imposition or continuance of the automatic stay of Section 362(a) of

         the Bankruptcy Code or other injunctive relief requested.

                                                MISCELLANEOUS

                   18.    Limitation of Section 506(c) Claims. Subject to entry of a Final Order, no costs or

         expenses of administration which have been or may be incurred in the Chapter 11 Cases or any

         Successor Case at any time shall be surcharged against, and no person may seek to surcharge any

         costs or expenses of administration against the DIP Lender or the Prepetition Secured Party, or

         any of their respective claims, the Carve Out, the Prepetition Collateral, or the DIP Collateral,

         pursuant to sections 105 or 506(c) of the Bankruptcy Code or otherwise, without the prior written

         consent of the DIP Lender and the Prepetition Secured Party. No action, inaction or acquiescence

         by the DIP Lender or the Prepetition Secured Party shall be deemed to be or shall be considered

         evidence of any alleged consent to a surcharge against the DIP Lender, the Prepetition Secured

         Party, any of itstheir respective claims, the Carve Out, or the DIP Collateral, or the Prepetition

         Collateral.

                   19.    No Marshaling. Subject to entry of a Final Order, the DIP Lender and the

         Prepetition Secured Party shall not be subject to the equitable doctrine of “marshaling” or any

         other similar doctrine with respect to any of the DIP Collateral or Prepetition Collateral. Without

         limiting the generality of the immediately preceding sentence, no party shall be entitled, directly

         or indirectly, to direct the exercise of remedies or seek (whether by order of this Court or otherwise)

         to marshal or otherwise control (i) the disposition of the DIP Collateral after an Event of Default

         under the DIP Loan Documents, or termination or breach under the DIP Loan Documents, or (ii)

         the disposition of the Prepetition Collateral after an event of default under the Prepetition Senior

         Loan Documents, or termination or breach under the Prepetition Senior Loan Documents.


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                   20.     Additional Perfection Measures. The DIP Liens and the ReplacementAdequate

         Protection Liens shall be perfected by operation of law immediately upon entry of this Interim

         Order. None of the Debtors, the DIP Lender, or the Prepetition Secured Party shall be required to

         enter into or obtain landlord waivers, mortgagee waivers, bailee waivers, warehouseman waivers

         or other waiver or consent, or to file or record financing statements, mortgages, deeds of trust,

         leasehold mortgages, control agreements, notices of lien or similar instruments in any jurisdiction

         (including, but not limited to control agreements relating to bank accounts, trademark, copyright,

         trade name or patent assignment filings with the United States Patent and Trademark Office,

         Copyright Office or any similar agency with respect to intellectual property, or filings with any

         other federal agencies/authorities), or obtain consents from any licensor or similarly situated party-

         in-interest, or take any other action in order to validate and to perfect the DIP Liens or the

         ReplacementAdequate Protection Liens.

                         (i)      If the DIP Lender, in its or the Prepetition Secured Party, each in their sole

         discretion but with notice to the other, chooses to take any action to obtain consents from any

         landlord, licensor or other party in interest, to file mortgages, financing statements, notices of lien

         or similar instruments, or to otherwise record or perfect such security interests and liens, the DIP

         Lender isand the Prepetition Secured Party is each hereby authorized, but not directed to, take such

         action or to request that Debtors take action reasonably requested on its behalf (and Debtors are

         hereby authorized to take such action) and:

                                  (a)     any such documents or instruments shall be deemed to have been

                           recorded and filed as of the time and on the date of entry of this Interim Order; and

                                  (b)     no defect in any such act shall affect or impair the validity,

                           perfection, and enforceability of the liens granted hereunder.


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                         (ii)      In lieu of obtaining such consents or filing any such mortgages, financing

         statements, notices of lien or similar instruments, the DIP Lender or the Prepetition Secured Party

         may, each in its sole discretion but with notice to the other, choose to file a true and complete copy

         of this Interim Order in any place at which any such instruments would or could be filed, together

         with a description of the DIP Collateral, and such filing by the DIP Lender or the Prepetition

         Secured Party shall have the same effect as if such mortgages, deeds of trust, financing statements,

         notices of lien or similar instruments had been filed or recorded at the time and on the date of entry

         of this Interim Order.

                   21.      Application of Collateral Proceeds. To the extent required by this Interim Order

         and the DIP Loan Documents, after an Event of Default, the Debtors are hereby authorized and

         directed to remit to the DIP Lender, as the case may be and the Prepetition Secured Party, on a

         pari passu basis, subject to the payment of the Carve Out, one-hundred percent (100%) of all

         collections on, and proceeds of, the DIP Collateral, and the automatic stay provisions of section

         362 of the Bankruptcy Code are hereby modified to permit the DIP Lender and the Prepetition

         Secured Party to retain and apply all collections, remittances, and proceeds of the DIP Collateral

         in accordance with the DIP Loan Documents and this Interim Order. In furtherance of the

         foregoing, (a) all cash, securities, investment property and other items of any Debtor deposited

         with any bank or other financial institution shall be subject to a perfected, first priority security

         interest in favor of the DIP Lender (or its designee), pari passu to the interests of the Prepetition

         Secured Party and (b) upon the expiration of the Remedies Notice Period, each bank or other

         financial institution with an account of any Debtor, including the Prepetition Secured Party as

         depository bank, is hereby authorized and instructed to comply at all timescoordinate with any

         instructions originated by the DIP Lender (or its designee) to such bank or financial


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         institutionregarding any instructions directing the disposition of cash, securities, investment

         property and other items from time to time credited to such account, without further consent of

         any Debtor, including, without limitation, any instruction to send to the DIP Lender (or its

         designee) by wire transfer (to such account as the DIP Lender (or its designee) shall specify, or in

         such other manner as the DIP Lender (or its designee) shall direct) all such cash, securities,

         investment property and other items held by it, and (c) any deposit account control agreement

         executed and delivered by any bank or other financial institution, any Debtor and the Prepetition

         Secured Party shall establish co-control in favor of the DIP Lender of any and all accounts subject

         thereto and any and all cash, securities, investment property and other items of any Debtor

         deposited therein to secure the DIP Obligations (provided that primary control rights shall vest in

         the DIP Lender), and all rights thereunder in favor of the Prepetition Secured Party shall inure also

         to the benefit of, and shall be exercisable exclusively by, the DIP Lender, until allto secure the

         payment of the DIP Obligations have beenand the Prepetition Senior Obligations indefeasibly paid

         in full on a pari passu basis, at which time exclusive control shall automatically revert to the

         Prepetition Secured PartyDebtors.

                   22.    Access to Collateral. Notwithstanding anything contained herein to the contrary,

         and without limiting any other rights or remedies of the DIP Lender or the Prepetition Secured

         Party contained in this Interim Order or, the DIP Loan Documents or the Prepetition Senior Loan

         Documents, or otherwise available at law or in equity, and subject to the terms of the DIP Loan

         Documents, upon three (3) business days’ written notice to the landlord, lienholder, licensor or

         other third party owner of any leased or licensed premises or intellectual property that an Event of

         Default under the DIP Loan Document or a default by any of the Debtors of any of their obligations

         under this Interim Order has occurred and is continuing, the DIP Lender or the Prepetition Secured


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         Party (i) may, unless otherwise provided in any separate agreement by and between the applicable

         landlord or licensor and the DIP Lender or and the Prepetition Secured Party (the terms of which

         shall be reasonably acceptable to the parties thereto), enter upon any leased or licensed premises

         of any of the Debtors for the purpose of exercising any remedy with respect to DIP Collateral

         located thereon and (ii) shall be entitled to all of the Debtors’ rights and privileges as lessee or

         licensee under the applicable lease or license and to use any and all trademarks, trade names,

         copyrights, licenses, patents or any other similar assets of the Debtors, which are owned by or

         subject to a lien of any third party and which are used by the Debtors in their businesses, in either

         the case of subparagraph (i) or (ii) of this paragraph, without interference from lienholders,

         landlords or licensors thereunder, subject to such lienholders, landlords or licensors rights under

         applicable law. Nothing herein shall require the Debtors, the Prepetition Secured Party, or the DIP

         Lender to assume any lease or license under section 365(a) of the Bankruptcy Code as a

         precondition to the rights afforded to the DIP Lender or the Prepetition Secured Party in this

         paragraph, provided, however, that the DIP Lender or the Prepetition Secured Party, as applicable,

         shall compensate any counterparty to a lease, contract, or license for use of such lease, contract, or

         license on a per diem basis.

                   23.    Delivery of Documentation. The Debtors (and/or their legal or financial advisors)

         shall deliver to the DIP Lender, counsel to the DIP Lender, counsel to the Prepetition Secured

         Party, and any financial advisors to the DIP Lender or the Prepetition Secured Party, all financial

         reports, Approved Budgets, forecasts, and all other legal or financial documentation, pleadings,

         and/or filings that are either (i) required to be provided (by the Debtors and/or their legal or

         financial advisors) to the DIP Lender, to the Prepetition Secured Party, and/or the DIP Lender’s or

         the Prepetition Secured Lender’s legal and financial advisors pursuant to the DIP Loan Documents,


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         or (ii) reasonably requested by the DIP Lender or the Prepetition Secured Party (or its respective

         legal and financial advisors).

                   24.    Access to Books and Records. The Debtors (and/or their legal and financial

         advisors) will (a) keep proper books, records and accounts in accordance with GAAP in which

         full, true and correct entries shall be made of all dealings and transactions in relation to their

         business and activities, (b) cooperate, consult with, and provide to the DIP Lender and the

         Prepetition Secured Party all such information as required or allowed under the DIP Loan

         Documents, the provisions of this Interim Order or that is afforded to the Creditors’ Committee

         and/or the Creditors’ Committee's respective legal or financial advisors, (c) permit, upon two (2)

         business days'’ notice and during normal business hours, representatives of the DIP Lender or the

         Prepetition Secured Party to visit and inspect any of their respective properties, to examine and

         make abstracts or copies from any of their respective books and records, to conduct a collateral

         audit and analysis of their respective inventory and accounts, to tour the Debtors'’ business

         premises and other properties, and to discuss, and provide advice with respect to, their respective

         affairs, finances, properties, business operations and accounts with their respective officers,

         employees and independent public accountants as often as may reasonably be desired, and (d)

         permit representatives of the DIP Lender or the Prepetition Secured Party to consult with and

         advise the Debtors' management on matters concerning the general status of the Debtors'’ business,

         financial condition and operations.

                   25.    Credit Bidding. Notwithstanding anything to the contrary in this Order and pursuant

         to section 363(k), the DIP Lender shall have the right to credit bid with respect to any assets on

         which the DIP Lender hold liens, provided that any such bid includes sufficient cash to




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         immediately and indefeasibly satisfy the Prepetition Senior Obligations and the Adequate

         Protection Obligations in full.

                   26.    25. Lenders Not Responsible Persons. In (a) making the decision to provide the

         DIP Facility and consent to the use of Cash Collateral; (b) administering the DIP Facility; (c)

         extending other financial accommodations to the Debtors under the DIP Loan Documents; and (d)

         making the decision to collect the indebtedness and obligations of the Debtors, the DIP Lender

         and the Prepetition Secured Party shall not solely by reason thereof be considered to (x) owe any

         fiduciary obligation to the Debtors or any other party with respect to their exercise of any consent

         rights afforded them under the DIP Loan Documents or this Interim Order or (y) be exercising

         control over any operations of the Debtors or acting in any way as a responsible person, or as an

         owner or operator under any applicable law, including without limitation, any environmental law

         (including but not limited to the Comprehensive Environmental Response, Compensation and

         Liability Act, 42 U.S.C. 9601, et seq., the Resource Conservation and Recovery Act, 42 U.S.C.

         6901, et seq., as either may be amended from time to time, or any similar federal or state statute).

                   27.    26. Successors and Assigns. The DIP Loan Documents and the provisions of this

         Interim Order shall be binding upon the Debtors, DIP Lender, and the Prepetition Secured Party

         and each of their respective successors and assigns, and shall inure to the benefit of the Debtors,

         the DIP Lender, and the Prepetition Secured Party, and each of their respective successors and

         assigns including, without limitation, any trustee, examiner with expanded powers, responsible

         officer, estate administrator or representative, or similar person appointed in a case for any Debtor

         under any chapter of the Bankruptcy Code. The terms and provisions of this Interim Order shall

         also be binding on all of the Debtors’ creditors, any Creditors’ Committee, equity holders, and all




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         other parties in interest, including, but not limited to a trustee appointed under chapter 7 or chapter

         11 of the Bankruptcy Code.

                   28.    27. Binding Nature of Agreement. Each of the DIP Loan Documents to which any

         of the Debtors are or will become a party shall constitute legal, valid, and binding obligations of

         the Debtors party thereto, enforceable in accordance with their terms. The DIP Loan Documents

         have been or will be properly executed and delivered to the DIP Lender and the Prepetition Secured

         Party by the Debtors. Unless otherwise consented to in writing, the rights, remedies, powers,

         privileges, liens, and priorities of the DIP Lender and the Prepetition Secured Party, as applicable,

         provided for in this Interim Order, the DIP Loan Documents, or otherwise shall not be modified,

         altered or impaired in any manner by any subsequent order (including a confirmation or sale order),

         by any plan of reorganization or liquidation in these Chapter 11 Cases, by the dismissal or

         conversion of these Chapter 11 Cases or in any subsequent case under the Bankruptcy Code unless

         and until the DIP Obligations and the Prepetition Senior Obligations have first been indefeasibly

         paid in full in cash and completely satisfied and the commitments terminated in accordance with

         the DIP Loan Documents and this Interim Order.

                   29.    28. Subsequent Reversal or Modification. This Interim Order is entered pursuant

         to sectionsections 363 and 364 of the Bankruptcy Code, and Bankruptcy Rules 4001(b) and (c),

         granting the DIP Lender all protections afforded by section 364(e) of the Bankruptcy Code.

                   30.    29. Collateral Rights. If any party who holds a lien or security interest in DIP

         Collateral or Prepetition Collateral that is junior and/or subordinate to the DIP Liens, the

         ReplacementAdequate Protection Liens or the Prepetition Senior Liens in such DIP Collateral or

         Prepetition Collateral receives or is paid the proceeds of such DIP Collateral or Prepetition

         Collateral prior to the indefeasible payment in full in cash and the complete satisfaction of (a) all


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         DIP Obligations under the DIP Loan Documents and termination of the commitment in accordance

         with the DIP Loan Documents, and (b) the Prepetition Senior Obligations under the Prepetition

         Senior Loan Documents, such junior or subordinate lienholder shall be deemed to have received,

         and shall hold, the proceeds of any such DIP Collateral or Prepetition Collateral in trust for the

         DIP Lender and the Prepetition Secured PartiesParty and shall immediately tumturn over such

         proceeds for application by the DIP Lender and the Prepetition Secured Party to repay the

         Prepetition Senior Obligations and the DIP Obligations in accordance with the DIP Loan

         Documents, the Prepetition First LienSenior Loan Documents and this Interim Order until

         indefeasibly paid in full.

                   31.    30. No Waiver. This Interim Order shall not be construed in any way as a waiver

         or relinquishment of any rights that the DIP Lender or the Prepetition Secured Party may have to

         bring or be heard on any matter brought before this Court.

                   32.    31. Limits on Lenders’ Liability. Nothing in this Interim Order and subject to

         Paragraph 14 or in any of the DIP Loan Documents, the Prepetition First LienSenior Loan

         Documents, or any other documents related to this transaction shall in any way be construed or

         interpreted to impose or allow the imposition upon the DIP Lender or the Prepetition Secured Party

         of any liability for any claims arising from any and all activities by the Debtors or any of their

         subsidiaries or affiliates in the operation of their businesses or in connection with their

         restructuring efforts.

                   33.    32. Sale/Conversion/Dismissal.

                          (a)     Unless otherwise ordered by the CourtIt shall constitute an event of default,

         the DIP Lender shall have no further obligation to provide financing under the DIP Loan

         Documents, and the DIP Lender and the Prepetition Secured Party shall be entitled to enforce their


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         respective rights under the DIP Loan Documents and this Interim Order if the Debtors seek,

         support entry of, or this Court grants, absent the prior consent of the DIP Lender, and the Debtors

         shall not seek or support entry ofPrepetition Secured Party, any order that provides for either the

         sale of the stock of the Debtors or the sale of all or substantially all of the assets of the Debtors

         under section 363 of the Bankruptcy Code to any party unless, in connection with such event, the

         proceeds of such sale are or will be indefeasibly paid to the DIP Lender and the Prepetition Secured

         Party on account of the DIP Obligations and the Prepetition Senior Obligations, respectively, and

         the commitments under the DIP Loan Documents and this Interim Order are terminated in

         accordance therewith on the closing date of such sale.

                   34.    33. Priority of Terms. To the extent of any conflict between or among (a) the

         express terms or provisions of any of the DIP Loan Documents, the Motion, the Requested Relief,

         any other order of this Court, or any other agreements, on the one hand, and (b) the terms and

         provisions of this Interim Order, on the other hand, unless such term or provision herein is phrased

         in terms of “as defined in” “as set forth in” or “as more fully described in” the DIP Loan Documents

         (or words of similar import), the terms and provisions of this Interim Order shall govern.

                   35.    34. No Third Party Beneficiary. Except as explicitly set forth herein, no rights are

         created hereunder for the benefit of any third party, any creditor or any direct, indirect or incidental

         beneficiary.

                   36.    35. Survival. Except as otherwise provided herein, (a) the protections afforded

         under this Interim Order, and any actions taken pursuant thereto, shall survive the entry of an order

         (i) dismissing any of these Chapter 11 Cases or (ii) converting any of these Chapter 11 Cases into

         a case pursuant to chapter 7 of the Bankruptcy Code, and (b) the DIP Liens, the Replacement

         Liens, and the DIPAdequate Protection Liens, the DIP Superpriority Claim, and the Adequate


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         Protection Superpriority Claim shall continue in these Chapter 11 Cases, in any such successor

         case or after any such dismissal. The DIP Liens, the ReplacementAdequate Protection Liens, and

         the DIP Superpriority Claim, and the Adequate Protection Superpriority Claim shall maintain their

         priorities as provided in this Interim Order and the DIP Loan Documents, and not be modified,

         altered or impaired in any way by any other financing, extension of credit, incurrence of

         indebtedness (except with respect to any additional financing to be provided by the DIP Lender in

         accordance with the Final Order), or any conversion of any of these Chapter 11 Cases into a case

         pursuant to chapter 7 of the Bankruptcy Code or dismissal of any of these Chapter 11 Cases, or by

         any other act or omission.

                   37.    36. Adequate Notice/Scheduling of Final Hearing. The notice given by the Debtors

         of the Interim Hearing was given in accordance with Bankruptcy Rules 2002 and 4001, and

         Bankruptcy Local Rules 2002-1, 4001-l(a), and 9013-l(m). Such notice was good and sufficient

         under the particular circumstances. The Debtors shall promptly mail copies of this Interim Order

         and notice of the Final Hearing to any known party affected by the terms of this Interim Order

         and/or Final Order and any other party requesting notice after the entry of this Interim Order. Any

         objection to the relief sought at the Final Hearing shall be made in writing setting forth with

         particularity the grounds thereof, and filed with the Court and served so as to be actually received

         no later than seven (7) days prior to the Final Hearing at 4:00 p.m. (prevailing Eastern Time) by

         the following (with electronic copies of any such objection at the time of service to the email

         address set forth below): (a) counsel to the Debtors, Young Conaway Stargatt & Taylor, LLP, 1000

         North King Street, Wilmington DE 19801, Attn: Michael R. Nestor (mnestor@ycst.com),

         Matthew B. Lunn (mlunn@ycst.com), and Allison S. Mielke (amielke@ycst.com); (b) counsel to

         the DIP Lender, (i) Cooley LLP, 110 N. Wacker Drive, Suite 4200, Chicago, IL 60606, Attn: Eric


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         Walker, Esq. (ewalker@cooley.com); and (ii) Morris, Nichols, Arsht & Tunnell LLP, 1201 North

         Market Street, P.O. Box 1347, Wilmington, DE 19899-1347, Attn: Curtis S. Miller

         (cmiller@mnat.com) and Derek C. Abbot (dabbott@mnat.com); and (c) counsel to the Prepetition

         Secured Party, Pachulski Stang Ziehl & Jones LLP, 919 N. Market St., Suite 1700, Wilmington,

         DE 19801, Attn: Richard M. Pachulski, Maxim B. Litvak, and James E. O’Neill; and (d) the Office

         of the United States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801,

         Attn: Jane Leamy (Jane.M.Leamy@usdoj.gov). The Court shall conduct a Final Hearing on the

         Requested Relief commencing on __________, 2022 at _________ (prevailing Eastern Time).

                   38.    37. Immediate Binding Effect; Entry of Interim Order. This Interim Order shall be

         valid and fully effective immediately upon entry, notwithstanding the possible application of

         Bankruptcy Rules 6004(h), 7062, and 9014, or otherwise, and the Clerk of the Court is hereby

         directed to enter this Interim Order on the Court’s docket in these Chapter 11 Cases.

                   39.    38. Proofs of Claim. Notwithstanding any order of this Court to the contrary, the

         Prepetition Secured Party and the DIP Lender hereby are relieved of any obligation or requirement

         to file proofs of claim in the Chapter 11 Cases with respect to any Prepetition Senior Obligations,

         or DIP Obligations and any other claims or liens granted hereunder or created hereby. Upon

         approval of this Interim Order, the Debtors’ Stipulations shall be deemed to constitute a timely

         filed proof of claim for the Prepetition Secured Party, and Prepetition Secured Party shall be treated

         under section 502(a) of the Bankruptcy Code as if they each have filed a proof of claim.

         Notwithstanding the foregoing, the Prepetition Secured Party areis hereby authorized and entitled,

         in theirits discretion, but is not required, to file (and amend and/or supplement, as they seeit sees

         fit) a proof of claim and/or aggregate proofs of claim in each of these Chapter 11 Cases or

         Successor Cases for any claim allowed herein.


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                   40.    39. Retention of Jurisdiction. This Court shall retain jurisdiction over all matters

         pertaining to the implementation, interpretation, and enforcement of this Interim Order.




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                                               EXHIBIT A

                                                  Budget

                                               [Unchanged]




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                                              EXHIBIT B

                                            DIP Term Sheet

                                               [To come]




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